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                                                                     FILED by   YH                                 D.C.



                                                                                                 Mar 23, 2021
                                                                                                  ANGELA E. NOBLE
                                                                                                 CLERK U.S. DIST. CT.
                                                                                                 S. D. OF FLA. -MIAMI
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                    21-80045-CR-CANNON/BRANNON
                         Case No.        -----------
                                          18 u.s.c. § 641
                                          18 U.S.C. § 981 (a)(l)(C)
                                          28 u.s.c. § 2461



    UNITED STATES OF AMERICA

    vs.

    JEFFREY ALLAN GRANT, JR.,

                   Defendant.

    --------------I
                                           INDICTMENT

           The Grand Jury charges that:

                                           COUNTS 1-40
                                   Theft of Government Property
                                          (18 u.s.c. § 641)

           On or about the dates enumerated below, in Pal m Beach County and Broward County,

    in the Southern District of Florida, the defendant,

                                  JEFFREY ALLAN GRANT, JR.,

    did knowingly and willfu lly embezzle, steal, purloin, and convert to his own use, a thing of

    value of the United States and a department and agency thereof, that is, the United States Postal

    Service, that is Un ited States Postal Service stamps, to wh ich the defendant was not entitled,

    as set forth in each count below:
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     Count   Date                 United    States    Post    Insufficient     Fund       Check
                                  Office Location             Presented, Value of Stamps
                                                              Purchased, and Number of
                                                              Purchased Stamps
     1       September 11, 2019   Village Post Office m       Jeffrey Grant's name and Chase
                                  Deerfield Beach, Florida    bank account number ending in
                                                              9926, printed on insufficient fund
                                                              check number 101 drawn on that
                                                              account for $440.00 and used to
                                                              purchase 800 stamps.
     2       September 11, 2019   Downtown Boca Raton         Jeffrey Granf s name and Chase
                                  Post Office m Boca          bank account number ending in
                                  Raton, Florida              9926, printed on insufficient fund
                                                              check number 102 drawn on that
                                                              account for $440.00 and used to
                                                              purchase 800 stamps.
     3       September 11, 2019   Lighthouse Point Post       Jeffrey Grant's name and Chase
                                  Office m Lighthouse         bank account number ending in
                                  Point, Florida              9926, printed on insufficient fund
                                                              check number 103 drawn on that
                                                              account for $440.00 and used to
                                                              purchase 800 stamps.
     4       September 11, 2019   Lighthouse Point Post       Jeffrey Grant's name and Chase
                                  Office m Lighthouse         bank account number ending in
                                  Point, Florida              9926, printed on insufficient fund
                                                              check number 113 drawn on that
                                                              account for $385.00 and used to
                                                              purchase 700 stamps.
     5       September 11, 2019   Tropical    Reef   Post     Jeffrey Grant's name and Chase
                                  Office   m     Pompano      bank account number ending in
                                  Beach, Florida              9926, printed on insufficient fund
                                                              check number I 04 drawn on that
                                                              account for $440.00 and used to
                                                              purchase 800 stamps.
     6       September 11, 2019   Tropical    Reef   Post     Jeffrey Grant's name and Chase
                                  Office   m     Pompano      bank account number ending in
                                  Beach, Florida              9926, printed on insufficient fund
                                                              check number 1 15 drawn on that
                                                              account for $385.00 and used to
                                                              purchase 700 stamps.
     7       September 11, 2019   Coral Reef Post Office in   Jeffrey Grant's name and Chase
                                  Coral Springs, Florida      bank account number ending in

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                                                               9926, printed on insufficient fund
                                                               check number 105 drawn on that
                                                               account for $440.00 and used to
                                                               purchase 800 stamps.
     8      September 11, 20 I 9   Coral Reef Post Office in   Jeffrey Granf s name and Chase
                                   Coral Springs, Florida      bank account number ending in
                                                               9926, printed on insufficient fund
                                                               check number 117 drawn on that
                                                               account for $385.00 and used to
                                                               purchase 700 stamps.
     9      September 11, 2019     Coral    Springs    Post    Jeffrey Grant's name and Chase
                                   Office in Coral Springs,    bank account number ending in
                                   Florida                     9926, printed on insufficient fund
                                                               check number 106 drawn on that
                                                               account for $440.00 and used to
                                                               purchase 800 stamps.
     10     September 11, 2019     Coral    Springs    Post    Jeffrey Grant's name and Chase
                                   Office in Coral Springs,    bank account number ending in
                                   Florida                     9926, printed on insufficient fund
                                                               check number 118 drawn on that
                                                               account for $385.00 and used to
                                                               purchase 700 stamps.
     11     September 11, 2019     Sunrise Post Office m       Jeffrey Grant's name and Chase
                                   Fort Lauderdale, Florida    bank account number ending in
                                                               9926, printed on insufficient fund
                                                               check number 107 drawn on that
                                                               account for $440.00 and used to
                                                               purchase 800 stamps.
     12     September 11, 201 9    Sunrise Post Office m       Jeffrey Grant's name and Chase
                                   Fort Lauderdale, Florida    bank account number ending in
                                                               9926, printed on insufficient fund
                                                               check number 119 drawn on that
                                                               account for $385.00 and used to
                                                               purchase 700 stamps.
     13     September 11, 2019     Alridge Post Office Ill     Jeffrey Grant's name and Chase
                                   Fort Lauderdale, Florida    bank account number ending in
                                                               9926, printed on insufficient fund
                                                               check number I 08 drawn on that
                                                               account for $440.00 and used to
                                                               purchase 800 stamps.
     14     September 11, 2019     Alridge Post Office Ill     Jeffrey Grant's name and Chase
                                   Fort Lauderdale, Florida    bank account number ending Ill
                                                               9926, printed on insufficient fund
                                                               check number 121 drawn on that

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                                                               account for $385.00 and used to
                                                               purchase 700 stamps.
     15     September I I, 20 I 9   Southside Post Office in   Jeffrey Grant's name and Chase
                                    Fort Lauderdale, Florida   bank account number ending in
                                                               9926, printed on insufficient fund
                                                               check number I 09 drawn on that
                                                               account for $440.00 and used to
                                                               purchase 800 stamps.
     16     September I I, 2019     Southside Post Office in   Jeffrey Grant's name and Chase
                                    Fort Lauderdale, Florida   bank account number ending in
                                                               9926, printed on insufficient fund
                                                               check number 122 drawn on that
                                                               account for $385.00 and used to
                                                               purchase 700 stamps.
     17     September I I, 2019     Sawgrass Post Office in    Jeffrey Grant's name and Chase
                                    Sunrise, Florida           bank account number ending m
                                                               9926, printed on insufficient fund
                                                               check number I IO drawn on that
                                                               account for $440.00 and used to
                                                               purchase 800 stamps.
     18     September I I, 2019     Margate Post Office m      Jeffrey Grant's name and Chase
                                    Margate, Florida           bank account number ending in
                                                               9926, printed on insufficient fund
                                                               check number I I 6 drawn on that
                                                               account for $275.00 and used to
                                                               purchase 500 stamps.
     19     September 12, 2019      Lighthouse Point Post      Jeffrey Grant's name and Chase
                                    Office 111 Lighthouse      bank account number ending in
                                    Point, Florida             9926, printed on insufficient fund
                                                               check number I 23 drawn on that
                                                               account for $440.00 and used to
                                                               purchase 800 stamps.
     20     September I 2, 2019     Delray    Beach    Post    Jeffrey Grant's name and Chase
                                    Office in Delray Beach,    bank account number ending in
                                    Florida                    9926, printed on insufficient fund
                                                               check number I 24 drawn on that
                                                               account for $440.00 and used to
                                                               purchase 800 stamps.
     21     September 12, 2019      Lake Worth Post Office     Jeffrey Grant's name and Chase
                                    in Lake Worth, Florida     bank account number ending in
                                                               9926, printed on insufficient fund
                                                               check number 125 drawn on that
                                                               account for $440.00 and used to
                                                               purchase 800 stamps.

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     22     September 12, 2019     Greenacres Post Office    Jeffrey Grant's name and Chase
                                   in Greenacres. Florida    bank account number ending in
                                                             9926, printed on insufficient fund
                                                             check number 126 drawn on that
                                                             account for $440.00 and used to
                                                             purchase 800 stamps.
     23     September 12, 2019     Loxahatchee Post Office   Jeffrey Grant's name and Chase
                                   in Loxahatchee, Florida   bank account number ending in
                                                             9926, printed on insufficient fund
                                                             check number 127 drawn on that
                                                             account for $440.00 and used to
                                                             purchase 800 stamps.
     24     September 12, 2019     Loxahatchee Post Office   Jeffrey Grant's name and Chase
                                   in Loxahatchee, Florida   bank account number ending in
                                                             9926, printed on insufficient fund
                                                             check number 128 drawn on that
                                                             account for $440.00 and used to
                                                             purchase 800 stamps.
     25     September 12, 2019     Palms West Post Office    Jeffrey Grant's name and Chase
                                   m Royal Palm Beach,       bank account number ending in
                                   Florida                   9926, printed on insufficient fund
                                                             check number 129 drawn on that
                                                             account for $440.00 and used to
                                                             purchase 800 stamps.
     26     September 12, 2019     Royal Palm Beach Post     Jeffrey Grant's name and Chase
                                   Office m Royal Palm       bank account number ending in
                                   Beach, Florida            9926, printed on insufficient fund
                                                             check number 130 drawn on that
                                                             account for $440.00 and used to
                                                             purchase 800 stamps.
     27     September 12, 2019     Jog Road Post Office in   Jeffrey Grant's name and Chase
                                   Boynton Beach, Florida    bank account number ending in
                                                             9926, printed on insufficient fund
                                                             check number 131 drawn on that
                                                             account for $825.00 and used to
                                                             purchase 1,500 stamps.
     28     September 12, 20 I 9   Woodland Post Office in   Jeffrey Grant's name and Chase
                                   Boca Raton, Florida       bank account number ending in
                                                             9926, printed on insufficient fund
                                                             check number 132 drawn on that
                                                             account for $825.00 and used to
                                                             purchase 1,500 stamps.
     29     September 12, 2019     Boynton Beach Post        Jeffrey Grant's name and Chase
                                   Office  m   Boynton       bank account number ending in

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                                  Beach. Florida          9926, printed on insufficient fund
                                                          check number 133 drawn on that
                                                          account for $825.00 and used to
                                                          purchase 1,500 stamps.
     30     September 12, 2019    Lantana Post Office m Jeffrey Grant's name and Chase
                                  Lantana, Florida        bank account number ending in
                                                          9926, printed on insufficient fund
                                                          check number 134 drawn on that
                                                          account for $825.00 and used to
                                                          purchase 1,500 stamps.
     31     September 12, 2019    Lucerne Post Office m Jeffrey Grant's name and Chase
                                  Lake Worth, Florida     bank account number ending in
                                                          9926, printed on insufficient fund
                                                          check number 135 drawn on that
                                                          account for $825.00 and used to
                                                          purchase 1,500 stamps.
     32     September 12, 2019    Downton         Boynton Jeffrey Grant's name and Chase
                                  Beach Post Office m bank account number ending in
                                  Boynton Beach, Florida  9926, printed on insufficient fund
                                                          check number 136 drawn on that
                                                          account for $825.00 and used to
                                                          purchase 1,500 stamps.
     33     September 12, 2019    Wellington Post Office Jeffrey Grant's name and Chase
                                  in Wellington, Florida  bank account number ending in
                                                          9926, printed on insufficient fund
                                                          check number 137 drawn on that
                                                          account for $825.00 and used to
                                                          purchase 1,500 stamps.
     34     September 12, 201 9   West Palm Beach Post Jeffrey Grant's name and Chase
                                  Office m West Palm bank account number ending in
                                  Beach, Florida          9926, printed on insufficient fund
                                                          check number 139 drawn on that
                                                          account for $440.00 and used to
                                                          purchase 800 stamps.
     35     September 12, 2019    West Palm Beach Post    Jeffrey Grant's name and Chase
                                  Office m West Palm bank account number ending in
                                  Beach, Florida          9926, printed on insufficient fund
                                                          check number 140 drawn on that
                                                          account for $440.00 and used to
                                                          purchase 800 stamps.
     36     September 12, 2019    Weston Post Office Ill  Jeffrey Grant's name and Chase
                                  Weston, Florida         bank account number ending in
                                                          9926, printed on insufficient fund
                                                          check number 144 drawn on that

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                                                                   account for $440.00 and used to
                                                                   purchase 800 stamps.
     37          September 12, 2019    Sawgrass Post Office in     Jeffrey Grant's name and Chase
                                       Sunrise, Florida            bank account number ending in
                                                                   9926, printed on insufficient fund
                                                                   check number 151 drawn on that
                                                                   account for $1, I 00.00 and used to
                                                                   purchase 2,000 stamps.
     38          September 13, 2019   Coral Ridge Post Office      Jeffrey Grant's name and Chase
                                      In    Fort  Lauderdale,      bank account number ending in
                                      Florida                      9926, printed on insufficient fund
                                                                   check number 143 drawn on that
                                                                   account for $440.00 and used to
                                                                   purchase 800 stamps.
     39          September 13, 2019   Causeway Post Office in      Jeffrey Grant's name and Chase
                                      Fort Lauderdale, Florida     bank account number ending in
                                                                   9926, printed on insufficient fund
                                                                   check number 159 drawn on that
                                                                   account for $440.00 and used to
                                                                   purchase 800 stamps.
     40          September 13, 2019   Causeway Post Office in      Jeffrey Grant's name and Chase
                                      Fort Lauderdale, Florida     bank account number ending in
                                                                   9926, printed on insufficient fund
                                                                   check number 160 drawn on that
                                                                   account for $440.00 and used to
                                                                   purchase 800 stamps.


    In violation of Title 18, United States Code, Section 641.

                                   FORFEITURE ALLEGATIONS

            1.      The allegations of this Indictment are hereby re-alleged and by this reference

    fully incorporated herein for the purpose of alleging forfeiture to the United States of America

    of certain property in which the defendant, JEFFREY ALLAN GRANT, JR., has an interest.

           2.        Upon conviction of a violation of Title 18, United States Code, Section 641, as

    alleged in this Indictment, the defendant shall forfeit to the United States any property, real and

    personal, which constitutes or is derived from proceeds traceable to the offense, pursuant to


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    Title 18, United States Code, Section 98 1(a)( I)(C). Al l pu rsuant to Title 18, United States Code,

    Section 981(a)( I)(C) and the procedures set forth in Title 21 , Un ited States Code, Section 853,

    as incorporated by Title 28, United States Code, Section 246 1(c).

                                                            A TRUE BILL



                                                            FOREPERSON                 (


    ARIA~ J ARDO ORSHAN
    UNITED STATES ATTORNEY



    SA RA H J.C H A LL
    ASSISTANT UN ITED STATES ATTORNEY




                                                     8
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                                                   UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA

UNITED ST ATES OF AMERICA                                      CASE NO . _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  v.
                                                               CERTIFICATE OF TRIAL ATTORNEY*
JEFFREY ALLAN GRANT, JR.
                                                               Superseding Case Information:
                                   Defendant.

Court Division: (Select One)                                   New defendant(s)           Yes           No
       Miami _               Key West                          Number of new defendants
       FTL        ✓          WPB                FTP            Total number of counts

         I.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                    probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.          I am aware that the information supplied on this statement will be relied upon by the Judges of this
                    Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                    Act, Title 28 U .S.C. Section 3161.
        ,.,                                               No
        .J.         Interpreter:    (Yes or No)
                    List language and/or dialect
        4.          This case will take _3_ days for the parties to try.

        5.          Please check appropriate category and type of offense listed below:

                    (Check only one)                                  (Check only one)


                                                      ✓
        I           0 to 5 days                                        Petty
        II          6 to JO days                                       Minor
        lJl         11 to 20 days                                      Misdem.
        IV          21 to 60 days                                      Felony             ✓


        V           61 days and over
        6.       Has this case previously been filed in this District Court?    (Yes or No) No
         If yes: Judge                                     Case No. - - - - - - - - - - - - - - -
         (Attach copy of dispositive order)
         Has a complaint been filed in this matter?         (Yes or No)      No
              If yes: Magistrate Case No.
              Related miscellaneous numbers:
              Defendant(s) in federal custody as of
              Defendant(s) in state custody as of
              Rule 20 from the District of
              ls this a potential death penalty case? (Yes or No)          No

        7.          Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                    priortoAugust9,2013(Mag.JudgeAliciaO.Valle)?                    Yes              No 1

        8.          Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                    prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes             No 1

        9.          Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                    prior to October 3, 20 I 9 (Mag. Judge Jared Strauss)?           Yes             No 1
                                                                       SARAH J. SCHALL        Stl.A.-alf,    . ScA'.a&
                                                                       ASSISTANT UNITED STATES
                                                                       Court No. A5501805
 *Penalty Sheet(s) attached                                                                                     REV 6 '5 2020
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                             UNITED ST ATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENAL TY SHEET

  Defendant's Name:     JEFFREY ALLAN GRANT, JR.

  Case No:

  Counts#: 1-40

  Theft of Government Property

  Title 18, United States Code, Section 641

  *Max. Penalty if aggregate value is $1,000 or more: Up to 10 years' imprisonment, up to 3
  years of supervised release, up to $250,000 fine, and a mandatory $100 special assessment.
